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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    GOOGLE LLC,                                          Case No. 22-cv-04553-JST
                                                        Plaintiff,
                                   8
                                                                                             ORDER GRANTING MOTION FOR
                                                 v.                                          STAY
                                   9

                                  10    SONOS, INC.,                                         Re: ECF No. 13
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Defendant Sonos has moved to stay this case pending proceedings before the International

                                  14   Trade Commission (ITC). ECF No. 13. Plaintiff Google does not oppose the stay. Id.

                                  15           “In a civil action involving parties that are also parties to a proceeding before the [ITC], at

                                  16   the request of a party to the civil action that is also a respondent in the proceeding before the

                                  17   [ITC], the district court shall stay, until the determination of the [ITC] becomes final, proceedings

                                  18   in the civil action with respect to any claim that involves the same issues involved in the

                                  19   proceeding before the [ITC] . . . if such request is made within 30 days after the party is named as

                                  20   a respondent.” 28 U.S.C. § 1659(a). After filing this suit against Sonos, Google filed a complaint

                                  21   with the ITC based on alleged infringement of multiple patents, naming Sonos as a respondent.

                                  22   ECF No. 13 at 7-9. This case involves alleged infringement of the same patents as the ITC

                                  23   investigation, and Sonos has timely moved for stay. Therefore, the Court must grant Sonos’s

                                  24   motion for stay pending ITC proceedings.

                                  25           This case is stayed until further order. The parties shall jointly advise the Court of the final

                                  26   decision of the ITC investigation no more than 14 days after the determination of the investigation

                                  27   becomes final.

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                                   1          When the stay is lifted, Sonos shall have 30 days to move against, answer, or otherwise

                                   2   respond to Google’s complaint.

                                   3          IT IS SO ORDERED.

                                   4   Dated: October 18, 2022
                                                                                      ______________________________________
                                   5
                                                                                                    JON S. TIGAR
                                   6                                                          United States District Judge

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Northern District of California
 United States District Court




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